                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

 UNITED STATES OF AMERICA,                                   )
                  Plaintiff,                                 )
                                                             ) CASE NO. DNCW3:18CV110
 vs.                                                         ) (Financial Litigation Unit)
                                                             )
 DANNY BROOKSHIRE,                                           )
                Defendant.                                   )


                                                COMPLAINT

        The United States of America, by and through its undersigned counsel, for its cause of

action against Defendant states the following:

        l.       This is a civil action brought by the Government on behalf of victims who are owed

restitution pursuant to a Judgment in a Criminal Case.

        2.       On or about November 20, 1998, a Judgment in a Criminal Case, case number

4:97CR208-4 was filed against Danny Brookshire. As part of said judgment, Defendant was

ordered to pay a $100.00 special assessment and $93,872.50 in restitution to his victims.

        3.       A copy of the Judgment in a Criminal Case establishing the basis for Defendant's

liability for this debt is attached to this Complaint as Exhibit A and incorporated by reference.

        4.       Pursuant to 18 U.S.C. 18 U.S.C. § 3613(b), the criminal restitution judgment is

enforceable for 20 years from the date of sentencing. 1

        5.       Based on these facts, Defendant’s criminal restitution judgment will expire on

November 20, 2018.

        6.       Thus, the Government now seeks a civil judgment against Defendant so that it may



        1
           The Government may enforce restitution in accordance with all provisions applicable to the enforcement
of a criminal fine. See 18 U.S.C. § 3613 (f) and 18 U.S.C. § 3664(m)(1)(A).



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continue to collect the criminal restitution for the benefit of the named victims.

       7.      Defendant is not in military service within the purview of the Soldiers' and Sailors'

Civil Relief Act of 1940, as amended by the Service Members’ Civil Relief Act of 2003.

       8.      As of February 16, 2018, the Clerk of Court balance is $71,749.46. No interest is

sought on this amount.

       9.      Defendant has not made a voluntary payment since October 6, 2003, and current

payments are through the Treasury Offset Program.

       Wherefore, Plaintiff prays for judgment against Defendant in the amount of $71,749.46 as

of February 16, 2018, the costs of this action and such other and further relief to which Plaintiff

may be entitled in law or equity.

       This 9th day of March, 2018.

                                              R. ANDREW MURRAY
                                              UNITED STATES ATTORNEY
                                              WESTERN DISTRICT OF NORTH CAROLINA


                                              s/Tiffany M. Mallory
                                              Assistant United States Attorney
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                                               United States District Court
                                               Weslern District of Nortb Carolina




    X   pleaded guilty to count(s) l
        pleaded nolo contendere to count(s)
        was found guilty on count(s)                                   after a plea of not guilty.


                                   Nature of   Offense                                               Date Offense
                                                                                                     Congluded

                                   Receiving stolen goods which had crossed a state    boundary lll4l92
                                   afler being stolen




  The Defendant is sentenced as provided in pages 2 through   5   of this judgment; The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

    The Defendant has been found not guilty on count(s)
-
        Count(s)            (isXare) dismissed on the motion of the United   State$.                   :   .




  IT lS FURTHER ORDERED that the Defendant shall notifr the United States Attomey for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are

                                                                        Date of Imposition of Sentence: l0/5/98




                                  A ?rue
                                                                                       Government
                                                                                         Exhibit
                                                                                           A
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:
Defendanl: Danny Brookshire
Case Number : 4:9'7   cr2084




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Defendant: Danny Brookshire
                                                                                                                     JudgmenrPage   3 ol.l
Case number: 4:97 q208-4


                                          CNT U   IXaL     N4   ONETARY PENALTIES




                                                                                       $93,872.50


Resrirurion: Taylor & Murphy Constmction, lnc., I l2l Brevard Rd., Asheville, NC 28806 -        $I   5.000'000 -
             1987 Carerpillar D-6H Bulldozer (defpfieQnake restirution jointly &
             severally with co-defis. Joseph Kinca/d   By,i)Jr , G' C' Lingerfelt &
             Isaac Bledsoe);

             Landmark American Insurance co., 9800 S. Meridian Blvd., Englewood,
             co. 801 12, claim #1132430C, 1988 4x4 Caterpillar Backhoe - sl7 ,472.50
             (Defi. Shall make restirurion jointly & severally with co-deft. Lingerfelt);

             S. T. Wooten Corporalion, PO Box 2408,      Wilson;NC 27894-2408      -

             1987 Carerpillar Motor Grader - $61,400.00
             (Defr. shall make resliturion jointly & severally with co-deft. Lin-eerfeli)




                                                                  FINE
,I}reabovefineincludescostsofincarceration,ifany,and/orsupenrision'

   The defendant shall pav interest on any fine or resritution of more than $2,500.00, unless the fine or restitution is paid in full before
rhe fifreenrh day after the date ofjudgment, pursuant ro l8 U.S.C. S 3612(f). All of the paymenl options on the Schedule of Payments
may be subjecr ro penalties for default and delinquency pursuant to l8 U.S.C. $ 3612(g).

X   The courr |as rJetermined that the defendant does not have the abiliry to pay inlerest and it is ordered that:

x   The interest requiremenl is waived.

    The interest requirement is modified as follows:
-




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A       x        in fullimmediatelY; or

                                  immediately, balance due (in accordance with C or D); or

                 not later than




Special instructions regarding the paymenl of criminal
                                                       monetary penalties: Any payment made that is not payment
                                                                   Defendant is jointly & severally liable with co-
in full shall be divided propol.;or*.iy u.ong rhe victims nu,.,"a.
defendants for the toml amount of restitution'




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